         Case 17-43213        Doc 7 Filed 11/08/17 Entered 11/08/17 16:15:40                        Desc Order
                                  Extending Time To File R Page 1 of 1

                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MINNESOTA




In re:
                                                                                              Case No: 17−43213 − WJF
Donald Andrew Driggs

Debtor(s)                                                                                                 Chapter 11 Case

                                       ORDER EXTENDING TIME TO FILE
                                       REMAINING SCHEDULES & LISTS



This matter came before the undersigned on Debtor's application for extension of time to file schedules.

It appearing appropriate to do so,

IT IS HEREBY ORDERED THAT debtor shall have until 11/17/2017 to complete the filing of the remaining
schedules.




Dated: 11/8/17                                             William J Fisher
                                                           United States Bankruptcy Judge




                                                           NOTICE OF ENTRY AND FILING ORDER OR JUDGMENT
                                                           Filed and docket entry made on November 8, 2017
                                                           Lori Vosejpka Clerk, United States Bankruptcy Court
                                                           By: grace Deputy Clerk




mnboxtim 06/06/2013 − pb
